                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

GARY PALMER

v.                                                       CASE NO. 3:14 CV 745 (JCH)

CAVALRY PORTFOLIO SERVICES, LLC
CAVALRY SPV I, LLC

                                         NOTICE OF DISMISSAL

         Pursuant to Rule 4l(a)(l), plaintiff hereby dismisses the within action, with prejudice

and without costs or fees based on the parties’ settlement agreement.

                                                                  THE PLAINTIFF




                                                                  BY_____/s/ Joanne S. Faulkner__
                                                                  JOANNE S. FAULKNER ct04137
                                                                  123 Avon Street
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         Certificate of Service

          I hereby certify that on July 25, 2014, a copy of foregoing Notice of Dismissal was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system. Parties may access this filing through the Court’s system.




                                                                  ____/s/ Joanne S. Faulkner___
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